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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA

 UNITED STATES OF AMERICA                     )
                                              )
        v.                                    )      CAUSE NO.: 2:00-CR-28-TLS-18
                                              )      RELATED CAUSE NO.: 2:09-CV-234-TLS
 JAMES S. ERVIN                               )

                                    OPINION AND ORDER

        This matter is before the Court on Defendant James Ervin’s Motion Under 28 U.S.C.

 § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody [ECF No.

 1663], filed on August 10, 2009, along with a Memorandum of Law in Support [ECF No. 1664].

 The Government filed a Response [ECF No. 1670] on October 8, 2009, and Defendant Ervin

 filed a Reply [ECF No. 1671] on October 23, 2009. On March 21, 2011, Defendant Ervin filed

 an Amended Memorandum of Law and Motion in Support [ECF No. 1725]. The Government

 filed a Response [ECF No. 1738] and Defendant Ervin filed a Reply [ECF No. 1740]. Further, on

 August 25, 2011, Defendant Ervin filed a Motion and Affidavit of Fact[s] [ECF No. 1741]

 relating to his attempt to obtain trial documents under the Freedom of Information Act.

 Defendant Ervin also filed a Submission of Newly Received Exhibits [ECF No. 1746] on

 December 15, 2011, and filed a Request for Status and/or Judgment [ECF No. 1757] on

 November 13, 2012.



                                        BACKGROUND

        The Court conducted an eighteen day jury trial commencing on October 22, 2003, and

 concluding on November 21, 2003, resulting in a jury verdict of guilty for Defendant Ervin.

 Specifically, the jury found Defendant Ervin guilty of the following charges contained in the

 Government’s Fourth Superceding Indictment [ECF No. 898]: one count of drug conspiracy, in
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 violation of 21 U.S.C. § 846 (Count 1); one count of drug trafficking, in violation of 21 U.S.C.

 § 841(a)(1) (Count 10); two counts of extortion under color of official right, in violation of 18

 U.S.C. § 1951 (Counts 23 and 24); four counts of causing the death of another in relationship to

 a drug trafficking offense, in violation of 21 U.S.C. § 848(e)(1)(A) (Counts 25–28); one count of

 traveling in interstate commerce with the intent to commit a crime of violence, in violation of 18

 U.S.C. § 1952(a)(2) (Count 29); and two counts of carrying a firearm during and in relation to a

 drug trafficking crime, in violation of 18 U.S.C. § 924(c)(1).

        Attorney John T. Theis represented Defendant Ervin in pretrial matters, at trial, at

 sentencing, and in filing an appeal. Attorney Charles H. Graddick also represented Defendant

 Ervin in some pretrial matters. Attorney Jerold S. Solovy represented Defendant Ervin for his

 direct appeal to the United States Court of Appeals for the Seventh Circuit.

        On December 2, 2005, the Court sentenced Defendant Ervin as laid out in the Judgment

 [ECF No. 1471]. Specifically, the Court sentenced Defendant Ervin to life on Counts 1, 10, and

 each of Counts 25–28. The Court also sentenced Defendant Ervin to 240 months on Counts 23,

 24, and 29, and to 60 months on Counts 30 and 31. The Court ordered that the 240 month

 sentences be served concurrently with the life sentence, but that the 60 month sentences be

 served concurrently with each other and consecutively to the life sentence. The Court also

 sentenced Defendant Ervin to 5 years of supervised release, and ordered him to pay restitution in

 the amount of $8,114.39 and a special assessment to the Government in the amount of $1,100.00.

        Defendant Ervin appealed his conviction, and the Seventh Circuit affirmed the conviction

 (along with the conviction of co-Defendant Jay Zambrana) on September 2, 2008. United States

 v. Ervin, 540 F.3d 623 (7th Cir. 2008); see also Judgment, ECF No. 1657.


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         Defendant Ervin now seeks to vacate, set aside, or correct his sentence on the basis of

 ineffective assistance of counsel and improper jury instruction. The Government, in its

 Responses, argues that Defendant Ervin’s claims provide no basis for collateral relief because

 they do not amount to ineffective assistance of counsel and because the Court gave appropriate

 instructions of law. The Court agrees that Defendant Ervin’s claims do not entitle him to

 collateral relief.



                                             ANALYSIS

         Section 2255 allows a person convicted of a federal crime to vacate, set aside, or correct

 his sentence. This relief is available only in limited circumstances, such as where an error is

 jurisdictional, of Constitutional magnitude, or there has been a “complete miscarriage of justice.”

 See Harris v. United States, 366 F.3d 593, 594 (7th Cir. 2004). Motions to vacate a conviction or

 correct a sentence ask a court to grant an extraordinary remedy to a person who has already had

 an opportunity of full process. Kafo v. United States, 467 F.3d 1063, 1068 (7th Cir. 2006).

         The Seventh Circuit “requires a district court to grant an evidentiary hearing if a § 2255

 petitioner ‘alleges facts that, if proven would entitle him to relief.’” Galbraith v. United States,

 313 F.3d 1001, 1009 (7th Cir. 2002) (quoting Stoia v. United States, 22 F.3d 766, 768 (7th Cir.

 1994)). However, “the threshold determination that the petitioner has sufficiently alleged such

 facts requires the petitioner to submit a sworn affidavit showing what specific facts support the

 petitioner’s assertions.” Id. (citing Prewitt v. United States, 83 F.3d 812, 819 (7th Cir. 1996)).




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         Defendant Ervin asserts that he is entitled to habeas relief on nine grounds1: First, he

 maintains that his trial counsel was ineffective in not moving for a severance from co-Defendant

 Zambrana before trial. Second, Defendant Ervin argues that his counsel was ineffective in not

 filing a motion for an evidentiary hearing after receiving notice of Defendant Arreola’s

 additional misconduct prior to Defendant Ervin’s sentencing in this matter. Third, Defendant

 Ervin states that his trial counsel was ineffective when he failed to object to the Court’s final jury

 instructions, which did not include a definition of the term impeachment. Fourth, Defendant

 Ervin argues that his counsel was ineffective when he failed to develop and present adequate

 grounds and authority for the relief requested in his Motion for Judgment of Acquittal or in the

 Alternative for a New Trial [ECF No. 1363]. Fifth, Defendant Ervin maintains his trial counsel

 was ineffective for failing to develop adequate grounds to challenge the racial makeup of the

 jury pool in the Motion for Judgment of Acquittal or in the Alternative for a New Trial. Sixth,

 Defendant Ervin argues that the Court erred when it did not instruct the jury to disregard the

 testimony of impeached witnesses. Seventh, Defendant Ervin states that his appellate counsel

 was ineffective when he failed to object to the Seventh Circuit’s finding that additional evidence

 about Defendant Arreola’s misconduct would constitute only “cumulative impeachment

 evidence.”


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           Defendant Ervin also states that the evidence against him was insufficient to result in a
 conviction, though he does not list insufficiency of the evidence as an independent ground for habeas
 relief. (See Pet’r’s Reply 1–5, 12, ECF No. 1671; Reply to Amendment Resp. 11, ECF No. 1740 (“The
 question now before this Honorable Court, is it alright to have these characteristics in a Chief Witness
 when no other evidence of the charges, so long as it benefits the Government?”).) The Court previously
 denied Defendant Ervin’s sufficiency of the evidence claim as part of its Opinion and Order denying his
 Motion for Judgment of Acquittal or In the Alternative for a New Trial, entered on July 25, 2005. (See
 Op. & Order 4–5, ECF No. 1408.) Because Defendant Ervin raises no new circumstances or evidence to
 support his references to a sufficiency claim, the Court will deny habeas relief on what is, in essence, a
 sufficiency claim, insofar as Defendant Ervin is making such a claim.

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        In Defendant Ervin’s eighth ground for habeas relief—the first of Defendant Ervin’s new

 claims added by way of amendment—he argues that he has recently discovered that his trial

 counsel was ineffective when he failed to even contact alibi witnesses of whom Defendant Ervin

 had informed him. Finally, in his ninth ground for relief, also added in his request to amend his

 § 2255 Motion, Defendant Ervin maintains that his trial counsel was ineffective in failing to call

 an additional witness at trial, and for failing to develop potentially exculpatory evidence relating

 to that witness.

        The Government argues in its Response that Defendant Ervin’s claims of ineffective

 assistance of counsel do not meet the standard for ineffectiveness required by Strickland v.

 Washington, 466 U.S. 668 (1984). The Government also argues that his claim that the Court

 erred at trial is procedurally barred because it was not raised on direct appeal.

        The Court notes that Defendant Ervin also requests an evidentiary hearing. However, he

 has not submitted a sworn affidavit as part of his § 2255 filings, and therefore he has not

 produced admissible evidence requiring a hearing on any of his claims. See Galbraith, 313 F.3d

 at 1009–10 (“factual allegations must be supported by an affidavit before we will require the

 additional step of an evidentiary hearing”). Accordingly, the Court will deny Defendant Ervin’s

 request for an evidentiary hearing.



 A.     Legal Standard—Ineffective Assistance of Counsel Claims

        In seeking to prove that his counsel rendered ineffective assistance, the Defendant “bears

 a heavy burden.” Jones v. Page, 76 F.3d 831, 840 (7th Cir. 1996) (citation omitted). To establish

 ineffective assistance of counsel, a petitioner must show that: (1) his attorney’s performance “fell


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 below an objective standard of reasonableness,” Strickland, 466 U.S. at 688; and (2) there is a

 reasonable probability that “but for counsel’s unprofessional errors, the result of the proceeding

 would have been different.” Id. at 694. “A failure to establish either prong results in a denial of

 the ineffective assistance of counsel claim.” Rastafari v. Anderson, 278 F.3d 673, 688 (7th Cir.

 2002) (citation omitted).

         The performance prong requires the defendant to specifically identify acts or omissions

 that form the basis of his claim of ineffective assistance. Strickland, 466 U.S. at 690. Based on

 the totality of the circumstances, the court must then determine whether the identified acts and

 omissions fall outside the range of professionally competent assistance. Id. The prejudice prong

 requires the defendant to show that his trial counsel’s errors are so serious as to render his trial

 fundamentally unfair or unreliable. Lockhart v. Fretwell, 506 U.S. 364, 368–69 (1993). No

 matter how many grounds of ineffective assistance of counsel are raised, “ineffective assistance

 of counsel is a single ground for relief. . . . [I]t is the overall deficient performance, rather than a

 specific failing, that constitutes the ground of relief.” Peoples v. United States, 403 F.3d 844,

 848 (7th Cir. 2005). “Failure to raise a losing argument, whether at trial or on appeal, does not

 constitute ineffective assistance of counsel.” Stone v. Farley, 86 F.3d 712, 717 (7th Cir. 1996).



 B.      Claims in the Original § 2255 Motion

 1.      Claimed Ineffective Assistance for Failing to Move for a Severance of the Trial

         In his first ground for habeas relief, Defendant Ervin argues that his counsel was




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 ineffective because before trial began2 he did not move for a severance of Defendant Ervin’s trial

 from the trial of his co-Defendant, Jay Zambrana. Defendant Ervin maintains that “[t]he vast

 bulk of the Government’s 57 witnesses were against the co-defendant” (Mem. of Law in Supp. 6,

 ECF No. 1664), and argues that the Court’s spillover instruction was an “insufficient remedy”

 (id.) due to the sheer number of charges and amount of evidence offered against co-Defendant

 Zambrana. Because his counsel did not move for a severance before trial, Defendant Ervin

 insists he was denied “a better opportunity for acquittal” as well as “a fair trial.” (Id. 5.) The

 Government responds that Defendant Ervin’s counsel could not have obtained severance under

 Federal Rule of Criminal Procedure 14(a) because the indictment appropriately joined

 Defendants Zambrana and Ervin under Rule 8(b). The Government responds, further, that the

 Seventh Circuit has already evaluated the spillover instruction the Court gave at Defendant

 Ervin’s trial and found it sufficient to ensure that the jury “consider[ed] each count and the

 evidence relating to it separate and apart from every other count.” Ervin, 540 F.3d at 630.

 Because a motion for severance would have been without merit, the Government argues

 Defendant Ervin was not deprived of effective assistance of counsel when his attorney declined

 to make such a motion. Defendant Ervin replies that denial of severance from co-Defendant

 Zambrana would have been a due process violation in that it would have denied him a fair trial.

         Federal Rule of Criminal Procedure 8(b) states that an “indictment or information may

 charge 2 or more defendants if they are alleged to have participated in the same act or

 transaction, or in the same series of acts or transactions, constituting an offense or offenses.” The



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           Counsel for Defendant Ervin did move for a severance during trial, and the Court denied that
 request. (See Mot. for Judgment of Acquittal or in the Alternative for a New Trial 5, ECF No. 1363.)

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 Seventh Circuit has observed that it is “well settled that co-conspirators who are charged

 together generally should be tried together.” United States v. Goodwin, 496. F.3d 636, 644 (7th

 Cir. 2007).

        Federal Rule of Criminal Procedure 14(a) allows a court to grant a request for severance

 where “the joinder of offenses or defendants in an indictment . . . appears to prejudice a

 defendant.” Defendants are not, however, “entitled to severance merely because they may have a

 better chance of acquittal in separate trials.” Zafiro v. United States, 506 U.S. 534, 540 (1993).

 “In all but the most unusual circumstances, the risk of prejudice arising from a joint trial is

 outweighed by the economies of a single trial in which all facets of the crime can be explored

 once and for all.” United States v. Carrillo, 435 F.3d 767, 778 (7th Cir. 2006) (quotation marks

 omitted). “[W]hen defendants properly have been joined under Rule 8(b), a district court should

 grant a severance under Rule 14 only if there is a serious risk that a joint trial would compromise

 a specific trial right of one of the defendants, or prevent the jury from making a reliable

 judgment about guilt or innocence.” Zafiro, 506 U.S. at 539.

        The Court agrees with the Government that Defendant Ervin has failed to show why

 severance from co-Defendant Zambrana would have been appropriate if his attorney had asked

 for it before trial. It is undisputed that Defendant Ervin and Defendant Zambrana were charged

 together as co-conspirators. Thus, indicting them together was proper under Rule 8(b), and trying

 them together was also proper. See Goodwin, 496 F.3d at 644. Finding that the Defendants were

 properly joined, the Court would only have granted a request for severance if a joint trial would

 have compromised a specific trial right of either Defendant Zambrana or Defendant Ervin, or

 would have prevented the jury from reaching a reliable verdict. But Defendant Ervin’s general


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 assertion that he was denied a fair trial under the due process clause does not substantiate his

 claim that he was denied a specific trial right. Nor does the Court find that trial of the Defendants

 together prevented the jury from reaching a reliable verdict. Indeed, as the Seventh Circuit noted

 in its denial of Defendant Ervin’s direct appeal, the Court instructed the jury to “consider each

 count and the evidence relating to it separate and apart from every other count.” The Seventh

 Circuit approved of this very instruction on direct appeal, finding that “nothing in the record”

 suggested that the jury disregarded this Court’s instruction. Ervin, 540 F.3d at 630. Defendant

 Ervin raises no new evidence that would suggest the jury failed to follow this instruction. His

 assertion that the Court’s spillover instruction was an “insufficient remedy” is not supported by

 the record in this case.

         Because Defendant Ervin cannot show that the Court would have entertained his motion

 to sever if it had been offered before trial, he cannot show that his counsel was ineffective for

 failing to make such a motion. See Stone, 86 F.3d at 717 (“Failure to raise a losing argument

 . . . does not constitute ineffective assistance of counsel.”). Defendant Ervin has not shown that

 failing to make a motion for a severance was objectively unreasonable, nor that such a motion, if

 offered, would likely have affected the outcome of the proceeding. Accordingly, because

 Defendant Ervin has not shown ineffective assistance of counsel, the Court will deny his first

 ground for habeas relief.



 2.      Claimed Ineffective Assistance for Failing to Request an Evidentiary Hearing

         In his second ground for habeas relief, Defendant Ervin argues that his counsel was

 ineffective because he did not request an evidentiary hearing when informed about additional


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 misconduct by Defendant Arreola, one of the chief cooperating witnesses who testified against

 Defendant Ervin at trial. Instead of moving for an evidentiary hearing, Defendant Ervin’s

 counsel filed a Motion for Judgment of Acquittal or in the Alternative for a New Trial [ECF No.

 1363]. Notably, Defendant Zambrana’s attorney moved for both an evidentiary hearing and a

 new trial. After a two-day evidentiary hearing and after considering the testimony of all nine

 witnesses called, the Court denied Defendant Zambrana’s motion for a new trial in spite of the

 evidentiary hearing. The Court also denied Defendant Ervin’s motion for a new trial. Defendant

 Ervin maintains that his counsel’s failure to move for an evidentiary hearing as part of the

 motion for a new trial was ineffective. Specifically, he argues that this failure deprived him of

 “the opportunity to question the witness on the misconduct that may have adversely affected his

 testimony against the petitioner at trial.” (Mem. of Law in Supp. 10.) He argues this violated his

 “right to due process interlinked with his right of confrontation.” (Id. 11.) The Government

 responds that the Seventh Circuit has already found Defendant Ervin’s “substantive arguments”

 in support of his motion for a new trial to be “meritless.” Ervin, 540 F.3d at 631. Therefore, the

 Government argues that Defendant Ervin fails to establish either the first or the second prongs of

 a Strickland ineffectiveness claim. Furthermore, the Government notes that Defendant Ervin has

 failed to state what witnesses his counsel should have called at such a hearing, or what those

 witnesses would have said that would have produced a different result at the hearing. In his

 Reply, Defendant Ervin lists the names of three witnesses who he describes as “unimpeached

 alibi witnesses.” (Pet’r’s Reply 9.) He suggests that his attorney did not depose these three

 witnesses, but that if called at an evidentiary hearing on his motion for a new trial they “would

 have removed the specter of guilt against the petitioner.” (Id.)


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        The Court finds that the Seventh Circuit has already addressed the merits of Defendant

 Ervin’s new trial claim and found it to be “meritless.” Ervin, 540 F.3d at 631. Defendant Ervin

 has not shown that his counsel’s decision to proceed directly to arguing the merits of his new

 trial claim was objectively unreasonable. Furthermore, Defendant Zambrana did request an

 evidentiary hearing on his new trial request and the Court, after the hearing, denied the request

 for a new trial. The Court understands Defendant Ervin’s argument that his interests are not

 contiguous with Defendant Zambrana’s interests. However, the Court agrees with the

 Government that Defendant Ervin has failed to show exactly who his attorney ought to have

 called at an evidentiary hearing on the motion for a new trial, and how any witness would have

 made a difference. Defendant Ervin does not in this claim set out the testimony that any of his

 three alleged alibi witnesses would have offered, nor does he show that they could have affected

 the outcome on his motion for a new trial. As the Seventh Circuit has stated: “[E]vidence about

 the testimony of a putative witness must generally be presented in the form of actual testimony

 by the witness or on affidavit. A defendant cannot simply state that the testimony would have

 been favorable; self-serving speculation will not sustain an ineffective assistance claim.” United

 States v. Ashimi, 932 F.2d 643, 650 (7th Cir. 1991) (footnote omitted). In this ground for habeas

 relief, Defendant Ervin offers nothing more than self-serving speculation that the testimony of

 these witnesses would have been favorable. Such an unsubstantiated claim about the need for an

 evidentiary hearing does not establish ineffective assistance of counsel.

        In sum, the Court finds that the denial of Defendant Zambrana’s motion for a new trial

 after a hearing, the Seventh Circuit’s finding that Defendant Ervin’s arguments in support of a




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 new trial were meritless,3 and Defendant Ervin’s failure to show what his proposed witnesses

 would have said and how it would have affected the outcome of his motion for a new trial,

 suggest that Defendant Ervin was not prejudiced when his attorney did not move for an

 evidentiary hearing in conjunction with his motion for a new trial. Because it appears that

 Defendant Ervin’s attorney did not act objectively unreasonably, and because Defendant Ervin

 has not established prejudice as a result of his attorney’s decision, he has not established

 ineffective assistance of counsel, and the Court will deny relief on this ground.



 3.     Claims Relating to Failure to Instruct the Jury on Impeachment

        In his third, sixth, and seventh grounds for habeas relief, Defendant Ervin raises claims

 having to do with impeachment. He notes that on direct appeal the Seventh Circuit described the

 testimony of the three chief witnesses against him at trial as having been “thoroughly

 impeached.” He then raises the following arguments on the subject of impeachment and jury

 instructions.

        In his third ground for relief, Defendant Ervin claims his attorney was ineffective when

 he failed to object to the Court’s instructions, which did not include a definition of impeachment.

 In his sixth ground for relief, Defendant Ervin claims the Court erred when it failed to instruct

 the jury “to disregard any and all facts pertaining to” impeached Government witnesses. (Mem.



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          As the Seventh Circuit stated, Defendant Ervin’s arguments in support of his new trial motion
 were “meritless” because the new evidence Defendant Ervin wished to introduce was merely impeaching
 and was cumulative, because no evidence suggested that witnesses against Defendant Ervin actually
 coordinated testimony, because no evidence suggested that Government agents actually suppressed the
 evidence of misconduct, and because the cumulative impeachment evidence would not have violated
 Brady v. Maryland, 373 U.S. 83 (1963), even if Government agents had actually suppressed it. See Ervin,
 540 F.3d at 631–32.

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 of Law in Supp. 20.) In his seventh ground for relief, Defendant Ervin claims his appellate

 counsel was ineffective when he failed to object to the Seventh Circuit’s statement that the

 testimony he might have elicited from Defendant Arreola was “merely cumulative impeachment

 evidence.” He appears to claim in his seventh ground that his appellate counsel was ineffective

 for failing to note that impeachment evidence “is inadmissible by law.” (Id. 22.)

         The Government responds regarding Defendant Ervin’s ground three that the Court

 correctly instructed the jury on impeachment, specifically giving the Seventh Circuit Criminal

 Pattern Jury Instructions on testimony of a witness (deciding what to believe), on prior

 inconsistent statements, on impeachment of witnesses by prior convictions, on witnesses

 requiring special caution because of cooperation with the Government, and on how to consider

 testimony by witnesses who had used addictive drugs. The Government responds regarding

 Defendant Ervin’s ground six that his argument is procedurally barred because it was not raised

 on direct appeal, and that it fails on the merits because Defendant Ervin’s requested instruction is

 an incorrect statement of the law. The Government responds regarding Defendant Ervin’s ground

 seven that it is “at a complete loss in its attempt to discern the basis of Ervin’s claim” (Response

 34, ECF No. 1670) and that in any case Defendant Ervin’s seventh ground fails to show

 ineffective assistance of counsel. Defendant Ervin replies as to his third ground that the Court’s

 failure to instruct on the definition of the word impeachment justifies both an evidentiary

 hearing4 and habeas relief. Defendant Ervin appears to reply concerning his sixth and seventh

 grounds that he is conceding these grounds (Pet’r’s Reply 17); nevertheless, because his



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          As to his request for an evidentiary hearing, it is denied because he has not submitted an affidavit
 with evidence showing why such a hearing is necessary. See Galbraith, 313 F.3d at 1009–10.

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 concession of these grounds is less than clear, the Court will consider them.

        The Court notes as an initial matter that Defendant Ervin’s sixth ground is procedurally

 barred because he did not raise it on direct appeal. It does not appear to raise a constitutional

 claim. Accordingly, because it could have been raised on direct appeal and was not raised, it

 cannot be heard in a § 2255 motion. See Belford v. United States, 975 F.2d 310, 313 (7th Cir.

 1992), overruled on other grounds by Castellanos v. United States, 26 F.3d 717, 720 (7th Cir.

 1994). On this basis, the Court will deny Defendant Ervin’s sixth ground for habeas relief.

        Furthermore, the Court will deny Defendant Ervin’s third, sixth, and seventh grounds for

 habeas relief on the merits. In his third ground, he argues merely that his attorney should have

 objected to the Court’s instructions which did not specifically define the word impeachment. But

 in his sixth and seventh grounds, Defendant Ervin appears to argue that the Court should have

 instructed the jury to completely disregard the testimony of the Government’s witnesses who

 were impeached. As to his third ground, the Court finds that the Court appropriately instructed

 the jury in accordance with the Seventh Circuit Criminal Pattern Jury Instructions. The Court

 instructed the jury on what it could consider in evaluating the testimony of any witness, and gave

 instructions on how to evaluate prior inconsistent statements, prior convictions, witness

 cooperation with the Government, and previous use of addictive drugs. The Court finds that

 Defendant Ervin has presented no authority or evidence to show why a definition of the word

 impeachment would have been appropriate or necessary, and accordingly, the Court finds that

 his attorney’s failure to object to the Court’s jury instructions as stated in his third ground for

 habeas relief did not constitute ineffective assistance of counsel. As to Defendant Ervin’s

 suggestion in his sixth and seventh grounds that the Court should have instructed the jury to


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 disregard the testimony of witnesses who were impeached, the Court agrees with the

 Government that Defendant Ervin is simply misstating the law. The Court will therefore deny

 Defendant Ervin’s sixth ground for relief on its merits because he has not shown that the Court’s

 instructions were improper, and will deny Defendant Ervin’s seventh ground for relief on its

 merits because he has not shown how his appellate counsel was ineffective for failing to object

 to the Seventh Circuit’s statement that any additional evidence offered by Defendant Arreola

 would have been “merely cumulative impeachment evidence.” Defendant Ervin’s statement that

 “impeached witnesses testimonial evidence . . . is inadmissible by law” (Mem. of Law in Supp.

 22) is simply incorrect, and if his attorney had raised such an objection on direct appeal, it would

 have failed. Thus, failure to raise such objection did not constitute ineffective assistance of

 counsel. See Stone, 86 F.3d at 717 (“Failure to raise a losing argument, whether at trial or on

 appeal, does not constitute ineffective assistance of counsel.”).

        For all the reasons stated above, the Court will deny habeas relief as to the claims stated

 in Defendant Ervin’s third, sixth, and seventh grounds.



 4.     Claims Relating to the Motion for Judgment of Acquittal or in the Alternative for a
        New Trial [ECF No. 1363]

        In his fourth and fifth grounds for habeas relief, Defendant Ervin argues that his counsel

 was ineffective when he failed to adequately support the arguments raised in the Motion for

 Judgment of Acquittal or in the Alternative for a New Trial [ECF No. 1363]. Specifically,

 Defendant Ervin argues in his fourth ground that his counsel was ineffective for failing to

 support and develop arguments in the Motion in general, and argues in his fifth ground that his

 counsel was ineffective for failing to support and develop the claim relating to the jury pool,

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 contained in the same Motion. Defendant Ervin’s fifth ground also argues that his counsel was

 ineffective for failing to support and develop the jury pool claim at trial, and for failing to object

 to the transfer of his case from the Hammond Division to the Fort Wayne Division.

        Defendant Ervin’s counsel filed the Motion for Judgment of Acquittal or in the

 Alternative for a New Trial on September 17, 2004. In that Motion, Attorney Theis argued that

 the evidence at trial was insufficient to convict Defendant Ervin, and raised twenty specific

 alleged errors at trial which, he argued, militated for a new trial. In its Opinion and Order

 denying the Motion, the Court stated as follows:

        It is the movant’s responsibility to develop his arguments and present the court with
        adequate grounds and authority to grant the requested relief. . . . This Court will not
        shy from summarily dismissing allegations of error where a party has presented
        perfunctory and undeveloped arguments unsupported by pertinent authority.

 (Op. & Order 3–4, ECF No. 1408.)

        The Government argues in response to Defendant Ervin’s fourth ground for relief that he

 has failed to indicate what arguments or evidence counsel for Defendant Ervin should have

 raised in the Motion, or how any additional arguments or evidence would have affected the

 outcome of the Motion. The Government argues in response to Defendant Ervin’s fifth ground

 that Defendant Ervin has still failed to show that African-Americans were under-represented in

 the jury venire based on the racial makeup of the Fort Wayne Division. As to Defendant Ervin’s

 claim that his attorney should have objected to transfer from the Hammond Division, the

 Government argues Defendant Ervin requested a judicial recusal which led directly to the

 transfer, and that Attorney Theis’s strategic decision to request recusal did not constitute

 ineffective assistance of counsel. Defendant Ervin replies concerning ground four that this

 Court’s statements in its Opinion and Order indicate that Attorney Theis was ineffective in filing

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 the Motion for Judgment of Acquittal or in the Alternative for a New Trial without appropriate

 research and argument. Defendant Ervin replies concerning ground five that he has stated claims

 for purposeful discrimination and an equal protection violation by his showing that only two

 African-Americans were part of the venire for his trial.

        The Court finds that neither Defendant Ervin’s ground four nor his ground five raise

 claims meriting habeas relief. As to ground four, the Court agrees with the Government that

 Defendant Ervin has not shown how his attorney was ineffective in filing the Motion for

 Judgment of Acquittal or in the Alternative for a New Trial. Nowhere in his ground four does

 Defendant Ervin state what evidence or caselaw his attorney should have produced, nor what

 arguments his attorney should have made. Neither does Defendant Ervin state how this new

 evidence or argument would have made a difference in the Court’s ruling on the Motion. His

 argument appears to be that his attorney was ineffective because the Government was allowed to

 respond to the substance of the Motion; that is no argument at all, for the Government would

 have had an opportunity to respond to his Motion whether it was a well-supported motion or not.

 As to his argument that the Court in its Opinion and Order denying his Motion stated that his

 counsel was ineffective, the Court disagrees. The Court did deny certain claims in his Motion

 due to the lack of substance behind his arguments. But Defendant Ervin has failed to show that

 there was indeed substance behind those arguments, substance which his attorney ought to have

 raised in the Motion. Absent a showing of “the specific acts or omissions of counsel that form[]

 the basis for his claim of ineffective counsel,” United States v. Kamel, 965 F.2d 484, 496 (7th

 Cir. 1992) (quotation marks omitted), Defendant Ervin’s ineffectiveness claim must fail. He has

 not shown what arguments his attorney should have raised, and he has not shown that his


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 attorney’s alleged failure to appropriately develop his arguments caused him any prejudice.

 Therefore, he has not shown ineffective assistance of counsel in his fourth ground for relief.

        As to Defendant Ervin’s fifth ground for relief, the Court addressed the issue of the racial

 makeup of the jury pool in its Opinion and Order denying the Motion for Judgment of Acquittal

 or in the Alternative for a New Trial. In that Opinion and Order, the Court noted that African-

 Americans comprised 6.03% of the Fort Wayne Division, and that the disparity between the

 percentage of African-Americans in the Division and the percentage of African-Americans on

 the venire in Defendant Ervin’s trial was only 3.7%. Therefore, under Seventh Circuit precedent,

 the Court denied Defendant Ervin’s Motion. See United States v. Ashley, 54 F.3d 311, 314 (7th

 Cir. 1995) (“a discrepancy of less than ten percent alone is not enough to demonstrate unfair or

 unreasonable representation of blacks on the venire”). In his fifth ground for habeas relief,

 Defendant Ervin argues that his attorney failed to produce proof that African-Americans were

 unfairly under-represented in his jury venire. But Defendant Ervin submits no evidence that the

 under-representation on his venire amounted to “anything more than a statistical coincidence.”

 Id. Therefore, Defendant Ervin has failed to show that his attorney’s failure to bring forth such

 putative proof—either at trial or in the Motion—constituted ineffective assistance. He has not

 shown purposeful discrimination; nor has he shown that he was denied equal protection of the

 laws in violation of the Fourteenth Amendment.

        As to Defendant Ervin’s argument that his counsel was ineffective for failing to object to

 the transfer of his case from the Hammond Division to the Fort Wayne Division, the Court

 agrees with the Government that this represented a strategic choice by counsel. Prior to trial,

 Defendant Ervin moved for a recusal which had the effect of emptying the pool of available


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 judges in the Hammond Division. Therefore, the chief judge transferred the case to the Fort

 Wayne Division. Because strategic decisions by counsel are generally “not subject to question by

 a reviewing court in deciding an ineffective assistance claim,” United States v. Boyles, 57 F.3d

 535, 551 (7th Cir. 1995) (quotation marks omitted), the Court does not find that Defendant

 Ervin’s attorney’s choice which led to the transfer of the case to the Fort Wayne Division

 constituted ineffective assistance.

        For all these reasons, the Court will deny the habeas claims raised by Defendant Ervin in

 grounds four and five.



 C.     Ineffective Assistance of Counsel Claims in the Amended Memorandum of Law and
        Motion in Support

        On March 21, 2011, Defendant Ervin filed an Amended Memorandum of Law and

 Motion in Support of his original § 2255 Motion. In his Amended Motion, he requests leave to

 amend and clarify his ground two for habeas relief, but asserts that he is not adding entirely new

 claims. He argues that his amended facts relate back to his ground two under Federal Rule of

 Civil Procedure 15(c)(1)(B) and because they concern the same “common core of operative

 facts” under the Supreme Court’s ruling in Mayle v. Felix, 545 U.S. 644, 664 (2005). Before

 addressing the merits of the proffered amended facts, the Court must address the proposed

 amendment itself.

        In its Response to the Amended Motion [ECF No. 1738], the Government acknowledges

 that amendment to a § 2255 motion is possible while the § 2255 motion remains pending for

 decision before a court. As the Seventh Circuit has stated, “part of every civil case . . . is an

 entitlement to add or drop issues while the litigation proceeds.” Johnson v. United States, 196

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 F.3d 802, 805 (7th Cir. 1999). Accordingly, “[a] prisoner receives one complete round of

 litigation, which as in other civil suits includes the opportunity to amend a pleading before

 judgment.” Id. On the question of whether a proposed amendment constitutes a prohibited

 second or successive motion under the Anti-Terrorism and Effective Death Penalty Act

 (AEDPA), the Seventh Circuit has stated definitively that “‘a proposal to amend one’s first

 motion is not a second motion,’ at least when the first has not yet reached a final decision.”

 Vitrano v. United States, 643 F.3d 229, 233–34 (7th Cir. 2011) (quoting Johnson, 196 F.3d at

 804) (citation and internal quotation marks omitted); see also Rutledge v. United States, 230 F.3d

 1041, 1051 (7th Cir. 2000) (“Until a final ruling has been issued, a district court must consider a

 petitioner’s request to amend his § 2255 motion, though the court need not grant the requested

 amendments.”).

        “[D]istrict courts have wide discretion in deciding whether to grant leave to amend.

 Justice generally does not require such leave if a movant demonstrates ‘undue delay, bad faith,

 or dilatory motive,’ or if undue prejudice to the opposing party would result.” Vitrano, 643 F.3d

 at 234 (quoting Airborne Beepers & Video, Inc. v. AT & T Mobility LLC, 499 F.3d 663, 666 (7th

 Cir. 2007)); see also Rutledge, 230 F.3d at 1051 (“A district court can refuse to let the defendant

 amend the petition for reasons such as delay.”).

        In his Amended Memorandum of Law and Motion, Defendant Ervin argues that he is not

 raising new claims, but rather is expanding the narrative of his original ground two by

 introducing new and recently discovered evidence. The Government in its Response, however,

 notes that Defendant Ervin is now adding two additional grounds for relief that are in substance

 new claims. The Court agrees. It appears that Defendant Ervin’s first new ground for habeas


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 relief has to do with his attorney’s failure to contact, depose, and call at trial certain alibi

 witnesses. It appears that his second new ground for relief concerns his attorney’s failure to call

 an Officer House, who Defendant Ervin claims would have provided exculpatory evidence

 and/or testimony at trial. Neither of these claims were raised in Defendant Ervin’s original

 ground two, which related to his attorney’s alleged failure to request an evidentiary hearing upon

 learning of Defendant Arreola’s additional misconduct. Accordingly, the Court agrees that

 Defendant Ervin is attempting to amend his § 2255 Motion by adding what are, in substance, two

 additional grounds for habeas relief.

         In its Response, the Government does not argue that the request to amend and add new

 claims filed by Defendant Ervin should be denied. The Government recites the standard for

 amending any pleading (after an amendment as a matter of course within 21 days): “The court

 should freely give leave when justice so requires.” Fed. R. Civ. P. 15(a)(2). The Government

 then states that because the new claims were “raised prior to the final resolution of [Defendant

 Ervin’s] pending motion filed pursuant to § 2255[,] . . . it is within the court’s discretion to grant

 leave to amend.” (Gov’t’s Resp. in Opp’n to Pet’r James Ervin’s Am. Mot. 3, ECF No. 1738.)

 The Government submits no argument about Defendant Ervin’s delay in raising the new claims,

 nor does it argue that he is raising them in bad faith. See Vitrano, 643 F.3d at 234. Accordingly,

 because no final ruling has issued as to the original § 2255 Motion, the Court will grant

 Defendant Ervin leave to amend his original § 2255 Motion by adding the new claims, and will

 consider those claims on the merits.


 1.      Claimed Ineffective Assistance for Failing to Contact, Depose, and Call Certain
         Witnesses at Trial


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         In his eighth ground for relief, Defendant Ervin argues that his counsel was ineffective

 because he “failed to contact, depose, and call for alibi testimony, vital witnesses.” (Am. Mem.

 of Law and Mot. 1, ECF No. 1725.) Defendant Ervin states that he has “only recently

 discovered” that his alibi witnesses were in most cases never contacted (id. 3), and argues that

 their testimony would “chronologically account for” his whereabouts at the time of the murders

 for which he was convicted (id. 2). He concludes that this testimony, combined with the

 testimony against him which was “thoroughly impeached,” would have resulted in his acquittal

 at trial. He does not submit a sworn affidavit outlining the testimony these witnesses would have

 offered, nor does he list the witnesses he has in mind.5 The Government responds that Defendant

 Ervin has failed to show ineffective assistance of counsel because he has failed to make a

 specific showing of what the witnesses’ testimony would have been, and how it would have

 made a difference at trial. Defendant Ervin replies by pointing the Court to the three witnesses he

 listed in his Reply to the original § 2255 Motion, and to his statement that these alibi witnesses

 “can chronologically account for Defendant Ervin’s whereabouts.” (Am. Mem. of Law and Mot.

 2.)

         A lawyer’s decision “to call or not to call a witness is a strategic decision generally not

 subject to review.” Valenzuela v. United States, 261 F.3d 694, 699–700 (7th Cir. 2001) (quoting

 United States v. Williams, 106 F.3d 1362, 1367 (7th Cir. 1997)); United States v. Adamo, 882

 F.2d 1218, 1227 (7th Cir. 1989) (“once defense counsel conducts a reasonable investigation into

 all lines of possible defenses, counsel’s strategic choice to pursue one line to the exclusion of



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         In his Reply, Defendant Ervin indicates that the witnesses who would offer alibi testimony are
 the same witnesses he listed in his Reply to the original § 2255 Motion. (See Reply 9, ECF No. 1671.)

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 others is rarely second-guessed on appeal”). However, an attorney “has a duty to make

 reasonable investigations or to make a reasonable decision that makes particular investigations

 unnecessary.” Strickland, 466 U.S. at 691.

        The decision not to even contact potentially exculpatory witnesses can constitute

 ineffective assistance of counsel. Ramonez v. Berghuis, 490 F.3d 482, 488 (6th Cir. 2007)

 (counsel’s decision not to interview key witnesses constituted ineffective assistance); Soffar v.

 Dretke, 368 F.3d 441, 473 (5th Cir. 2004) (counsel’s decision not to interview the only known

 eyewitness constituted ineffective assistance). But a defendant must make a showing that

 counsel failed to perform effectively by offering evidence of such failure. Here, Defendant Ervin

 has made no such showing. He has not submitted a sworn affidavit stating that he informed his

 attorney of alibi witnesses in advance of trial and that his attorney failed to contact them. Nor has

 he submitted sworn affidavits from any of his three proposed witnesses, and he has never

 outlined what they would say except to suggest that they would chronologically account for his

 whereabouts during the time of the murders. This is an insufficient showing. As the Seventh

 Circuit has stated, Defendant Ervin “is correct that this court requires a district court to grant an

 evidentiary hearing if a § 2255 petitioner ‘alleges facts that, if proven would entitle him to

 relief[.]’ [However,] the threshold determination that the petitioner has sufficiently alleged such

 facts requires the petitioner to submit a sworn affidavit showing what specific facts support the

 petitioner’s assertions.” Galbraith, 313 F.3d at 1009 (quoting Stoia, 22 F.3d at 768) (citation

 omitted). Defendant Ervin has made no such showing, and the Court therefore finds an

 evidentiary hearing on this point to be unnecessary.

        Further, Defendant Ervin has failed to show exactly what testimony his proposed alibi


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 witnesses would have offered, and how that testimony would have affected the outcome at trial.

 The Seventh Circuit has held that, to show prejudice from failure to call a favorable witness, a

 defendant “must make a comprehensive showing of what the potential witness’ testimony would

 have been and how it would have produced a different result.” Brown v. McGinnis, 922 F.2d

 425, 428 (7th Cir. 1991); see also Ashimi, 932 F.2d at 650 (“[E]vidence about the testimony of a

 putative witness must generally be presented in the form of actual testimony by the witness or on

 affidavit. A defendant cannot simply state that the testimony would have been favorable; self-

 serving speculation will not sustain an ineffective assistance claim.”) (footnote omitted).

 Defendant Ervin has not done so. He has not given a comprehensive showing of what any of

 these potential witnesses would have said at trial. Nor has he shown that their testimony would

 have made a difference. Therefore, even if he had shown that his attorney’s failure to contact

 these witnesses was unreasonable, he would still fail to show ineffectiveness because he has

 made an insufficient showing on the question of the substance of the witness testimony.

        Because Defendant Ervin has failed to make any showing that his lawyer failed to contact

 potential alibi witnesses, and because he has also failed to make a sufficient showing as to the

 content of the testimony of these potential witnesses, he has failed to show that his counsel acted

 in an unreasonable manner, and has failed to show that his counsel’s alleged error prejudiced

 him at trial. Accordingly, the Court will deny habeas relief on this eighth ground raised by

 Defendant Ervin.



 2.     Claimed Ineffective Assistance of Counsel for Failing to Call Additional Alibi Witness

        In his ninth ground for habeas relief, Defendant Ervin claims that his counsel was


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 ineffective when he failed to call at trial one additional alibi witness. Defendant Ervin does not

 list the name of this alibi witness in his Amended Memorandum of Law and Motion, but from

 the context it appears he is suggesting that his counsel should have called Officer House at trial.

 He argues that if his counsel had examined Officer House at trial, his appearance and testimony

 would have undercut Defendant Arreola’s in-court identification of Defendant Ervin, and would

 have resulted in his acquittal. The Government responds that Defendant Arreola was in fact

 impeached at trial concerning his original identification of Defendant Ervin, in which he referred

 to an officer by the name of either Jamie or House. The Government responds, further, that

 counsel’s decision not to call Officer House to the stand was a strategic decision, for the purpose

 of allowing the jury to believe that Officer House matched a physical description comporting

 with the defense theory of the case. The Government also responds that Defendant Ervin has

 failed to show how he was prejudiced by the failure to call Officer House to the stand as he has

 failed to show exactly what Officer House would have said or how such testimony would have

 made a difference at trial. Defendant Ervin replies that “[a]ny benefit received with the

 presentation of [Officer House], far outweigh any possible negative effect that same presentation

 would have brought.” (Reply 8, ECF No. 1740.)

        The Court agrees with the Government that Defendant Ervin has failed to show

 ineffectiveness on this ninth ground for habeas relief. As stated above, a lawyer’s decision “to

 call or not to call a witness is a strategic decision generally not subject to review.” Valenzuela,

 261 F.3d at 699–700 (quoting United States v. Williams, 106 F.3d at 1367). Defendant Ervin

 urges that Officer House should have been called to the stand so that the jury could see how his

 physical characteristics differed from those of Defendant Ervin. Defendant Ervin makes no


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 showing of what Officer House would have said if called to the stand, or even whether Officer

 House would have agreed to say anything at all. The Government suggests not having Officer

 House present may have been a defense strategy, allowing the jury to imagine that he fit the

 physical description associated with the defense theory. The Court need not elucidate exactly

 why defense counsel chose not to call Officer House to the stand. The decision not to call a

 witness is generally not subject to review. See Valenzuela, 261 F.3d at 699–700; Boyles, 57 F.3d

 at 551. Defendant Ervin has made no suggestion that his attorney failed to investigate what

 Officer House might have said. Therefore, Defendant Ervin has not shown that his attorney

 failed to make a “reasonable decision” about whether to call Officer House. Strickland, 466 U.S.

 at 691. He has also not shown how the failure to call Officer House prejudiced him because he

 has not made a comprehensive showing of what Officer House’s testimony would have been or

 how it would have produced a different result. See McGinnis, 922 F.2d at 428. Accordingly,

 Defendant Ervin has failed to establish ineffectiveness on the part of his attorney, and the Court

 will deny the claim contained in this ninth ground for habeas relief.6



 D.      Freedom of Information Act Request

         In his Motion and Affidavit of Fact[s], Defendant Ervin urges the Court to order the


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           Imbedded in this ninth ground is an argument that Defendant Arreola’s in-court identification of
 Defendant Ervin should have been suppressed because it came on re-direct examination when Defendant
 Arreola had already seen Defendant Ervin in court. The Court previously denied Defendant Ervin’s
 objection to this in-court identification. (See Op. & Order 5, ECF No. 1408.) Furthermore, under the
 authority cited by Defendant Ervin, an identification is proper if the totality of the circumstances show its
 reliability, United States v. Emanuele, 51 F.3d 1123, 1128 (3d Cir. 1995), and Defendant Ervin raises no
 new argument or evidence suggesting that the Court should alter its initial determination—that Defendant
 Arreola’s in-court identification of Defendant Ervin was proper. Defendant Ervin’s Submission of Newly
 Received Exhibits [ECF No. 1746] also does not undermine this Court’s confidence in its determination
 that the in-court identification of Defendant Ervin by Defendant Arreola was properly admitted.

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 Department of Justice to provide him with 36 boxes of materials related to his case, at a cost of

 $1,008, based on his promise to pay out of his future monthly prison earnings. He attaches to his

 Motion a copy of the denial letter he received from Susan B. Gerson, Acting Assistant Director

 of the Freedom of Information and Privacy Staff at the United States Department of Justice. In

 her Letter, Ms. Gerson states that the Department will not accept an offer to pay for documents

 on an installment basis. She cites to Sliney v. BOP, No. Civ.A. 04-1812 RBW, 2005 WL

 3273567, at *4 (D.D.C. Sept. 28, 2005), where the district court stated: “There is no authority in

 the statute or caselaw supporting plaintiff’s proposition that his agreement to allow the agency to

 withdraw monthly partial payments from his prison account constitutes an agreement to pay the

 total fee.” Defendant Ervin offers no legal authority to rebut this proposition.

        Finding that Defendant Ervin has offered no basis upon which this Court could enjoin the

 Department of Justice to provide him documents, the Court will deny Defendant Ervin’s request.



 E.     Request for Status and/or Judgment

        Finally, in his Request for Status and/or Judgment [ECF No. 1757], Defendant Ervin asks

 the Court to issue a decision in his case and cause. As articulated herein, the Court grants his

 request.



                             CERTIFICATE OF APPEALABILITY

        Pursuant to Rule 11 of the Rules Governing Section 2255 Proceedings, the Court must

 “issue or deny a certificate of appealability when it enters a final order adverse to the applicant.”

 A certificate of appealability may be issued “only if the applicant has made a substantial


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 showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2); Rule 11 of Rules

 Governing Section 2255 Proceedings. The substantial showing standard is met when “reasonable

 jurists could debate whether (or, for that matter, agree that) the petition should have been

 resolved in a different manner or that the issues presented were adequate to deserve

 encouragement to proceed further.” Slack v. McDaniel, 529 U.S. 473, 484 (2000) (quotation

 marks omitted); Barefoot v. Estelle, 463 U.S. 880, 893 & n.4 (1983). Where the district court has

 rejected the constitutional claims on procedural grounds, the court should issue a certificate of

 appealability “when the prisoner shows . . . that jurists of reason would find it debatable whether

 the petition states a valid claim of the denial of a constitutional right and that jurists of reason

 would find it debatable whether the district court was correct in its procedural ruling.” Slack, 529

 U.S. at 484. Where the district court has rejected the constitutional claim on the merits, “the

 showing required to satisfy § 2253(c) is straightforward: The petitioner must demonstrate that

 reasonable jurists would find the district court’s assessment of the constitutional claims

 debatable or wrong.” Id. The defendant is not required to show that he will ultimately succeed on

 appeal. Miller-El v. Cockrell, 537 U.S. 322, 337, 342 (2003) (stating that the question is the

 “debatability of the underlying constitutional claim, not the resolution of that debate”).

         Rule 11(a) permits a district court to direct the parties to submit arguments on whether a

 certificate of appealability should issue. Additional argument is not necessary here. The

 constitutional issues presented by Defendant Ervin’s Motion are whether his counsel was

 ineffective in failing to move for a severance of his trial from co-Defendant Zambrana before

 trial, in failing to move for an evidentiary hearing in conjunction with his motion for a new trial,

 in failing to object to the jury instructions, in failing to adequately support the Motion for


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 Judgment of Acquittal or in the Alternative for a New Trial, in failing to show evidence of an

 improper jury pool, in failing to object to the Seventh Circuit’s characterization of the evidence,

 in failing to contact, depose, or call at trial certain alibi witnesses, and in failing to call Officer

 House to the stand.7 Because his claims do not make the requisite showing for ineffectiveness, as

 outlined above, Defendant Ervin cannot make the necessary showing that reasonable jurists

 would find the district court’s assessment of his claims debatable or wrong. Consequently, the

 Court will deny a certificate of appealability as to Defendant Ervin’s Motion.



                                               CONCLUSION

         For the foregoing reasons, the Court DENIES Defendant Ervin’s Motion Under 28

 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody [ECF

 No. 1663]; GRANTS his request to Amend contained in his Amended Memorandum of Law and

 Motion in Support [ECF No. 1725] but DENIES the new claims added by that amendment on

 their merits; DENIES his Motion and Affidavit of Fact[s] [ECF No. 1741]; and GRANTS his

 Request for Status and/or Judgment [ECF No. 1757]. Furthermore, the Court DENIES Defendant

 Ervin a certificate of appealability.

         SO ORDERED on January 9, 2013.

                                                    s/ Theresa L. Springmann
                                                    THERESA L. SPRINGMANN
                                                    UNITED STATES DISTRICT COURT
                                                    FORT WAYNE DIVISION


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           This case also presents a non-constitutional issue: whether the Court erred in not instructing the
 jury on the definition of the word impeachment, and whether that claim is procedurally barred. Because
 this is not a constitutional claim, the Court will deny a certificate of appealability on this issue. Slack, 529
 U.S. at 483; 28 U.S.C. § 2253(c).

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